Case 2:10-md-02179-CJB-DPC Document 1440-10 Filed 02/28/11 Page 1 of 3
BP Establishes $20 Billion Claims Fund for Deepwater Horizon Spill and Outlines Divide... Page 1 of 2
      Case 2:10-md-02179-CJB-DPC Document 1440-10 Filed 02/28/11 Page 2 of 3



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                                                                                                           Search:                                         Go




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  You are here: BP Global      Press       Press releases


   Press releases                  BP Establishes $20 Billion Claims Fund for Deepwater Horizon Spill
   Speeches                        and Outlines Dividend Decisions
   Features
                                  Release date: 16 June 2010
   Images and graphics                                                                                                    In this section
                                  Following a meeting with the President of the United States, the BP Board
   Press contacts                 announces an agreed package of measures to meet its obligations as a                      BP is to Sell its Veedol and
                                  responsible party arising from the Deepwater Horizon spill.                             Duckhams Lubricant Brands

                                  Agreement was reached to create a $20bn claims fund over the next three and               BP to Sell Package of UK
                                  a half years on the following basis:                                                    Upstream Assets
      What is RSS?
                                        • BP will initially make payments of $3bn in Q3 of 2010 and $2bn in Q4              BP and Reliance Industries
                                          of 2010. These will be followed by a payment of $1.25bn per quarter             Announce Transformational
                                          until a total of $20bn has been paid in.                                        Partnership in India
                                        • While the fund is building, BP's commitments will be assured by the
                                          setting aside of U.S. assets with a value of $20bn. The intention is that          BP Confirms Plans For Further
                                          this level of assets will decline as cash contributions are made to the         Petrochemicals Growth in China
                                          fund.                                                                           Including Debottlenecking of BP
                                        • The fund will be available to satisfy legitimate claims including natural       Zhuhai
                                          resource damages and state and local response costs. Fines and
                                          penalties will be excluded from the fund and paid separately.                      BP Announces Plans to Enter
                                          Payments from the fund will be made as they are adjudicated, whether            into Arbitration Proceedings
                                          by the Independent Claims Facility (ICF) referred to below, or by a
                                                                                                                                                       More
                                          court, or as agreed by BP.
                                        • The ICF will be administered by Ken Feinberg. The ICF will adjudicate
                                          on all Oil Pollution Act and tort claims excluding all federal and state
                                          claims.
                                        • Any money left in the fund once all legitimate claims have been
                                          resolved and paid will revert to BP.


                                  The fund does not represent a cap on BP liabilities, but will be available to
                                  satisfy legitimate claims. Further and more detailed terms regarding the
                                  establishment and operation of the claims fund and the ICF will be finalized and
                                  announced as soon as possible.

                                  As a consequence of this agreement, the BP Board has reviewed its dividend
                                  policy. Notwithstanding BP's strong financial and asset position, the current
                                  circumstances require the Board to be prudent and it has therefore decided to
                                  cancel the previously declared first quarter dividend scheduled for payment on
                                  21st June, and that no interim dividends will be declared in respect of the
                                  second and third quarters of 2010.

                                  The Board remains strongly committed to the payment of future dividends and
                                  delivering long term value to shareholders. The Board will consider resumption
                                  of dividend payments in 2011 at the time of issuance of the fourth quarter 2010
                                  results, by which time it expects to have a clearer picture of the longer term
                                  impact of the Deepwater Horizon incident.

                                  The Board believes that it is right and prudent to take a conservative financial
                                  position given the current uncertainty over the extent and timing of costs and
                                  liabilities relating to the spill. BP's businesses continue to perform well, with
                                  cash flows from operations expected to exceed $30bn in 2010 at current prices
                                  and margins before taking into consideration costs related to the Deepwater
                                  Horizon spill. BP's gearing level remains at the bottom of its targeted band of
                                  20-30 per cent. In addition, the Company has over $10bn of committed banking
                                  facilities. To further increase the Company's available cash resources, the
                                  Board intends to implement a significant reduction in organic capital spending
                                  and to increase planned divestments to approximately $10bn over the next
                                  twelve months.
                                                                                                                       Ex. 9
                                  Chairman Carl-Henric Svanberg said: "We appreciated the constructive                 Press Release, BP, BP Establishes $20 Billion
                                  meeting conducted by the President and his senior advisers and are confident
                                  that the agreement announced today will provide greater comfort to the citizens      Claims Fund for Deepwater Horizon Spill and
                                  of the Gulf coast and greater clarity to BP and its shareholders. We welcome
                                  the administration's statements acknowledging that BP is a strong company            Outlines Dividend Decisions (June 16, 2010),
                                  and that the administration has no interest in undermining the financial stability
                                  of BP. This agreement is a very significant step in clarifying and confirming our    available at
                                                                                                                       http://www.bp.com/genericarticle.do?
                                                                                                                       categoryId=2012968&contentId=7062966 (last
                                                                                                                       visited Feb. 25, 2011).

http://www.bp.com/genericarticle.do?categoryId=2012968&contentId=7062966                                                                       2/25/2011
BP Establishes $20 Billion Claims Fund for Deepwater Horizon Spill and Outlines Divide... Page 2 of 2
      Case 2:10-md-02179-CJB-DPC Document 1440-10 Filed 02/28/11 Page 3 of 3


    commitment to meet our obligations. We regret the cancellation and                          back to top
    suspension of the dividends, but we concluded it was in the best interests of
    the Company and its shareholders."

    Chief Executive Tony Hayward said: "From the outset we have said that we
    fully accepted our obligations as a responsible party. This agreement reaffirms
    our commitment to do the right thing. The President made it clear and we agree
    that our top priority is to contain the spill, clean up the oil and mitigate the
    damage to the Gulf coast community. We will not rest until the job is done."


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